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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,

      vs.                                Case No. 6:20-cv-00881-ADA
GOOGLE LLC,

               Defendant.



         DECLARATION OF LINDSAY COOPER IN SUPPORT OF
GOOGLE LLC’S REPLY IN SUPPORT OF MOTION TO TRANSFER PURSUANT TO
                          28 U.S.C. § 1404(a)
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        I, Lindsay Cooper, declare and state as follows:

        1.     I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP representing Google

LLC (“Google”) in this matter. If called as a witness, I could and would testify competently to

the information contained herein.

        2.     Attached hereto as Exhibit 1 is a true and correct copy excerpts from the transcript

for the parties’ November 19, 2020 hearing in Google LLC v. Sonos, Inc., No. C 20-06754 (N.D.

Cal).

        3.     Attached hereto as Exhibit 2 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053943.

        4.     Attached hereto as Exhibit 3 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053944.

        5.     Attached hereto as Exhibit 4 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053949.

        6.     Attached hereto as Exhibit 5 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053850.

        7.     Attached hereto as Exhibit 6 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053884.

        8.     Attached hereto as Exhibit 7 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053921.

        9.     Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053876.

        10.    Attached hereto as Exhibit 9 is a true and correct copy of a document produced by

Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053934.




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       11.      Attached hereto as Exhibit 10 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053946.

       12.      Attached hereto as Exhibit 11 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053936.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053938.

       14.      Attached hereto as Exhibit 13 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053825.

       15.      Attached hereto as Exhibit 14 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053844.

       16.      Attached hereto as Exhibit 15 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053842.

       17.      Attached hereto as Exhibit 16 is a true and correct copy of a document produced

by Google in this action bearing the Bates stamp number GOOG-SONOSWDTX-00053950.

       18.      Attached hereto as Exhibit 17 is a true and correct copy of Sonos, Inc.’s

Responses and Objections to Google LLC’s Second Set of Interrogatories to Sonos, Inc.

Regarding Venue.

       19.      Attached hereto as Exhibit 18 is a true and correct copy of Sonos, Inc.’s Response

to Final Office Action, filed on November 1, 2019 in the prosecution history of U.S. Patent No.

10,779,033.

       20.      Attached hereto as Exhibit 19 is a true and correct copy of Google LLC’s First

Supplemental Objections and Responses to Plaintiff Sonos, Inc.’s Second Set of Interrogatories

(No. 9).




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       21.     Attached hereto as Exhibit 20 is a true and correct copy of Google LLC’s First

Supplemental Objections and Responses to Plaintiff Sonos, Inc.’s First Set of Requests for

Production Concerning Venue Discovery (Nos. 1-3 and 10-15).

       22.     Attached hereto as Exhibit 21 is a true and correct copy of Plaintiff Sonos, Inc.’s

Preliminary Infringement Contentions and Identification of Priority Dates, served on December

11, 2020.

       23.     Attached hereto as Exhibit 22 is a true and correct copy of Plaintiff Sonos, Inc.’s

Second Supplemental Preliminary Infringement Contentions and Identification of Priority Dates,

served on June 4, 2021.

       24.     Attached hereto as Exhibit 23 is a true and correct copy of a report from Lex

Machina of open cases pending before District Judge Alan Albright in the United States District

Court, Western District of Texas.

       25.     Attached hereto as Exhibit 24 is a true and correct copy a report from Lex

Machina of open cases pending before District Judge William Alsup in the United States District

Court, Northern District of California.

       26.     Attached hereto as Exhibit 25 is a true and correct copy of a report from Lex

Machina showing the median time for cases before District Judge Alan Albright to reach trial.

       27.     Attached hereto as Exhibit 26 is a true and correct copy of a report from Lex

Machina showing the median time for cases before District Judge William Alsup to reach trial.

       28.     Attached hereto as Exhibit 27 is a true and correct copy of a COVID-19 risk and

vaccination report for San Francisco County, California as of June 24, 2021, available from the

webpage https://covidactnow.org/.




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       29.     Attached hereto as Exhibit 28 is a true and correct copy of a COVID-19 risk and

vaccination report for McLennan County, Texas as of June 24, 2021 available from the webpage

https://covidactnow.org/.

       30.     Attached hereto as Exhibit 29 is a true and correct copy of the webpage

https://www.ubreakifix.com/.

       31.     Attached hereto as Exhibit 30 is a true and correct copy of the webpage

identifying uBreakiFix locations near San Francisco, California, available at

https://store.google.com/repair.

       32.     Attached hereto as Exhibit 31 is a true and correct copy of the webpage

https://web.archive.org/web/20140413140323/https:/play.google.com/about/music/sonos/.



       I declare under penalty of perjury that to the best of my knowledge the foregoing is true

and correct. Executed on June 29, 2021, in Mill Valley, California.



                                                 /s/ Lindsay Cooper
                                                 Lindsay Cooper




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